                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION

UNITED STATES OF AMERICA            )
                                    )                  DOCKET NO. 5:15-cr-69-RLV
         v.                         )
                                    )
KIMBERLY MICHAELS DIPADOVA )                           ORDER
                                    )
____________________________________)

        THIS MATTER IS BEFORE THE COURT on the Government’s “Notice of Appeal,

Motion for Revocation of Conditions of Release, and Motion for Order of Detention” filed

February 12, 2016 (Document 38). Having reviewed and considered the United States Probation

Office’s Violation Report (Document 37), and the pleadings in this case, the Court finds that this

case involves a rebuttable presumption in favor of detention, pursuant to 18 U.S. Code Section

3142, and that Defendant Kimberly Michaels Dipadova does not rebut said presumption, in light

of the additional alleged violations of her conditions of release. Accordingly, the Government’s

appeal, its motion to revoke the release order, and its motion for detention are hereby GRANTED,

and

        IT IS ORDERED, pursuant to 18 U.S. Code §§ 3142 and 3145, that the release order of

the United States Magistrate Judge for the Central District of California is hereby REVOKED.

        IT IS FURTHER ORDERED that the Defendant shall be DETAINED until further order

of this Court.

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall    Service,     and   the   United   States   Attorney's    Office    (via   e-mail    to

Steven.Kaufman@usdoj.gov).

        SO ORDERED.

 Signed: February 17, 2016




      Case 5:15-cr-00069-KDB-DCK          Document 39       Filed 02/17/16      Page 1 of 2
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Case 5:15-cr-00069-KDB-DCK   Document 39   Filed 02/17/16   Page 2 of 2
